              Case: 7:09-cr-00014-GFVT-EBA Doc #: 10 Filed: 07/15/09 Page: 1 of 6 - Page ID#: 25
~AO   2458	   (Rev. 09/08) Judgment in a Criminal Case
              Sheet I



                                         UNITED STATES DISTRICT COURT
                        EASTERN                                  District of            KENTUCKY - Southern Division at Pikeville
          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
                                                                         Case Number: 7:09-CR-14-01-GFVT
                     Kimberly Hall
                                                                         USMNumber:                          12097-032

                                                                         Joseph R. Lane
                                                                         Defendant's Attorney
THE DEFENDANT:	                                                                                          Eastern District of . . ,V"   C;'. ;.;   l\

                                                                                                                 Flt-.ED
X pleaded guilty to count(s)         1 of the Information
o pleaded nolo contendere to count(s)                                                                           JUL 1 5 2009
  which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                         Offense Ended                        Count
18 USC §1956(a)(1)(B)(i)           Conducting a Financial Transaction Involving Drug Distribution            June 14,2007                              1
                                   Proceeds




       The defendant is sentenced as provided in pages 2 through      6       of this judgment. The sentence is imposed pursuant to
18 U.S.C. §3553(a) and the Sentencing Reform Act of 1984 as amended or modified by the Supreme Court's January 12,2005, decision in
United States v. Booker and United States v. Fanfan.

o The defendant has been found not guilty on count(s)
X Count(s)      7:07-34-08, 7:07-34-08-S, 7:07-34-08-SS   0 is    X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 da)'s of any change ofname, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economIC circumstances.




                                                                         SignaIure of Judge




                                                                         GREGORY F. VAN TATENHOVE, U.S. District Judge
                                                                         Name and Title of Judge


                                                                                    7-&~      'J.CC'1	                                                     _
                                                                         Date
                Case: 7:09-cr-00014-GFVT-EBA Doc #: 10 Filed: 07/15/09 Page: 2 of 6 - Page ID#: 26
AO 245B        (Rev. 09/08) Judgment in Criminal Case
               Sheet 2 - Imprisonment

                                                                                                         Judgment -   Page _-=2,--_ of   6
    DEFENDANT:                    HALL, Kimberly

    CASE NUMBER:                  7:09-CR-14-01-GFVT



                                                                 IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

    total tenn of:     Time Served, which the Court estimates to be one (l) day.





     o     The court makes the following recommendations to the Bureau of Prisons:




     o     The defendant is remanded to the custody of the United States Marshal.

     o     The defendant shall surrender to the United States Marshal for this district:

           o     at
                       ---------- o                       a.m.     o   p.m.     on

           o     as notified by the United States Marshal.

     o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           o     before 2 p.m. on

           o     as notified by the United States Marshal.

           o     as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
    I have executed this judgment as follows:




           Defendant delivered on                                                            to

a                                                       , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
              Case: 7:09-cr-00014-GFVT-EBA Doc #: 10 Filed: 07/15/09 Page: 3 of 6 - Page ID#: 27
AD 2458      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3     of         6
DEFENDANT:                    HALL, Kimberly
CASE NUMBER:                  7:09-CR-14-01-GFVT
                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:             3 years




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests

thereafter, as determined by the court.

D	 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
X	 The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X	 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D	 The defendant shall comply with the requirements of the Sex Offender Registration and NotifIcation Act (42 U.S.c. § 16901, et seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted ofa qualifying offense. (Check, if applicable)
D	 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fIne or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sneet ofthis judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;

  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fIrst fIve days of

          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;

  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any

          controlled substance or any paraphernalia related to any controlled sUDstances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any J>ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIscation of any
          contraband observed in plain view of the probation officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission ofthe court; and
 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or p-ersonal history or characteristics and shall permit the probation officer to make such notifIcations and to confIrm the
          defendant s compliance with such notifIcation requirement.
            Case: 7:09-cr-00014-GFVT-EBA Doc #: 10 Filed: 07/15/09 Page: 4 of 6 - Page ID#: 28
AO 2458     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 3C - Supervised Release
                                                                                         Judgment-Page _.:!.4_ of       6
DEFENDANT:                  HALL, Kimberly
CASE NUMBER:                7:09-CR-14-01-GFVT

                                          SPECIAL CONDITIONS OF SUPERVISION

    The defendant shall complete her GED as directed by the probation office.

    The defendant shall participate in a substance abuse treatment program and shall submit to periodic
    drug and alcohol testing at the direction and discretion of the probation officer during the term of
    supervision.
    The defendant shall abstain from the use of alcohol.
    The defendant shall submit her person, residence and curtilage, office or vehicle to a search, upon
    direction and discretion of the United States Probation Office.
    The defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with
    the efficiency and accuracy of any prohibited substance testing which is required as a condition of
    release.
    The defendant provide to the probation officer within 7 (seven) days a written report, in a form the
    probation officer directs, listing each and every prescription medication in the defendant's possession,
    custody or control. The list shall include, but not be limited to, any prescription medication that
    contains a controlled substance and encompasses all current, past and outdated or expired prescription
    medications in a defendant's possession, custody, or control at the time of the report.
    The defendant shall notify the probation officer immediately (i.e. within no later than 72 hours) if the
    defendant receives any prescription for a medication containing a controlled substance during the
    period of supervised release. The defendant shall provide the probation officer such documentation and
    verification as the probation officer may reasonably request and in a form the probation officer directs.
    The defendant must comply strictly with the orders of any physician or other prescribing source with
    respect to use of all prescription medications.


Pursuant to Public Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of 2004, the
defendant shall submit to DNA collection if the offense of conviction is a felony.


                                                       ACKNOWLEDGMENT

Upon ajinding ofa violation ofprobation or s,,!pervised release, I understand that the Court may (I) revoke supervision, (2)
extend the term ofsupervision, and/or (3) modify the conditions ofsupervision.
These conditions have been read to me. Ifully understand the conditions and have been provided a copy ofthem.



(Signed)
           ("'D"'e-'f~'en-d'--a-n--Ct)---------------------
                                                                            Date




           o. S. Probation OfficerIDeslgnated Witness                       Date
AO 245B      Case:
           (Rev. 09/08) 7:09-cr-00014-GFVT-EBA
                        Judgment in a Criminal Case            Doc #: 10 Filed: 07/15/09 Page: 5 of 6 - Page ID#: 29
           Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment -     Page _ ...5 ,--_   of   6
DEFENDANT:                      HALL, Kimberly
CASE NUMBER:                    7:09-CR-14-01-GFVT
                                                CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                            Fine                                    Restitution
TOTALS            $ 100                                                  $ 500                                $ Not Applicable



o	   The determination of restitution is deferred until
                                                           ---. An             Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o	   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned-payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee	                               Total Loss*                              Restitution Ordered                    Priority or Percentage




                                  $                                              $	                     ----'0"­
TOTALS	
                                                                   °

o     Restitution amount ordered pursuant to plea agreement $

o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      x   the interest requirement is waived for the       X       fme     0      restitution.

      o   the interest requirement for the      o   fme        0     restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, 110, IIOA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245B      Case:
           (Rev. 09/08)7:09-cr-00014-GFVT-EBA
                       Judgment in a Criminal Case          Doc #: 10 Filed: 07/15/09 Page: 6 of 6 - Page ID#: 30
           Sheet 6 - Schedule of Payments

                                                                                                        Judgment - Page      6     of       6
DEFENDANT:                 HALL, Kimberly
CASE NUMBER:               7: 09-CR-14-0 I-GFVT

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X     Lump sum payment of $      -=-60.::..0~      _   due immediately, balance due

           [J    not later than                                 , or
           X     in accordance        D C,           D D,   D     E, or    X F below; or
B    D     Payment to begin immediately (may be combined with             DC,       D D, or      D F below); or
C    D     Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                       over a period of
          _ _ _ _ _ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    D     Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                     over a period of
          _ _---:-__ (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X     Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall make a lump sum payment of $600 toward the criminal monetary penalties set out in this judgment. Such
           lump sum shall be due immediately. Any outstandin~ balance owed shall be paid in mmimum monthly installinents of $50 which
           are payable to the United States DIstrict Court Clerk s Office for the Eastern District of Kentuckv. Tlie first such payment shall be
           made no more than 30 days following entry of this judgment and payments shall continue thereafter until the defendant has fully
           satisfied the fmancial obhgations amount. MAKE PAYMENTS TO: U.S. District Court Clerk's Office, 110 Main Street, Suite
           203 Pikeville, Kentucky 41501. Please include your case number on the check or money order.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone~ penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made throUgh the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant's interest in the following property to the United States:
     All items set forth in Count 21 of Pikeville Indictment #07-CR-34-SS-GFVT, except item #3 under REAL ESTATE and item #2
     under CONVEYANCES.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
